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                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Roanoke Division

DARRIEN BROWN                                            )
                                                         )
             Plaintiff,                                  )
                                                         )
                                                         )
v.                                                       )
                                                         )
VIRGINIA POLYTECHNIC INSTITUTE                           )
AND STATE UNIVERSITY,                                    )
                                                         )    Civil Action No. _______________
                                                                               7:20CV65

and                                                      )
                                                         )
                                                         )
TIMOTHY SANDS,                                           )
                                                         )
             Defendants.                                 )
                                                         )

                                   PLAINTIFF’S COMPLAINT

                                            Introduction

        1.       Darrien Brown, a college student, files this action for declaratory and injunctive

relief to vindicate his rights under the Fourteenth Amendment to the United States Constitution

and 42 U.S.C. § 1983.

        2.       This case arises out of a constitutionally flawed process that resulted in a decision

by the Virginia Polytechnic Institute and State University (“Virginia Tech”) to give Mr. Brown–

a graduating senior in the Virginia Tech Corps of Cadets (“Corps”) who was poised to receive

his Commission as an officer in the United States Army in May 2020, and who had an exemplary

academic record – a two semester suspension, through Fall 2020.

        3.       A student accused Mr. Brown and others in the Corps of hazing at team-building

event on October 18, 2019.




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       4.       Essentially, the student said that he or she was made to perform various

calisthenics during the event, followed by “blood pinning,” or the placement of a small pin

commemorating participation in the event, and that such activity allegedly constituted hazing.

       5.       The student – whose identity remains anonymous –brought their accusation to the

attention of unknown school officials, and eventually, to Virginia Tech Assistant Vice President

of Student Affairs Dr. Frances Keene and Virginia Tech Interim Vice President of Student

Affairs Dr. Frank Shushok. They referred the allegation to the Virginia Tech Office of Student

Conduct, which then assigned various staff to conduct an investigation into the allegations.

       6.       Virginia Tech investigators complied a report into the complaint.

       7.       Upon receiving the report, the Virginia Tech Office of Student Conduct held a

hearing for Mr. Brown and the other members of the Corps who allegedly participated in the

event. Virginia Tech refused to share the identity of the student-accuser prior to or during the

hearing and denied Mr. Brown and his fellow accused students any opportunity to question him

or her. Virginia Tech sanctioned Mr. Brown upon the hearsay testimony of Corps investigators.

       8.       As a result of Virginia Tech’s refusal to allow Mr. Brown to confront his accuser,

and grant a fair hearing, Mr. Brown was denied a right to due process and deprived of his

property interest in his continued enrollment.

       9.       Mr. Brown now faces a permanent blemish his record and loss of his full military

scholarship, which will jeopardize graduating as scheduled, and he will not be able to honor his

contract to join the Army. This suit follows requesting that the Court enter an order for

declaratory and injunctive relief setting aside the honor hearing result as violative of the U.S.

Constitution.




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                                               Parties

       10.     Plaintiff Darrien Brown is a United States citizen who resides and is domiciled in

the State of North Carolina.

       11.     Defendant Virginia Tech is an institution of higher education located in the city of

Blacksburg, Virginia, and is part of the statewide system of public higher education operated by

the Commonwealth of Virginia.

       12.     Defendant Timothy Sands is the President of Virginia Tech. Upon information

and belief, Dr. Sands is a United States citizen who resides and is domiciled in the

Commonwealth of Virginia.

       13.     The actions of Virginia Tech, by and through its employee Dr. Sands and his

staff, as described herein, took place under color of state authority.

                                      Jurisdiction and Venue

       14.     This action arises under the Fourteenth Amendment to the United States

Constitution and 42 U.S.C. § 1983. Jurisdiction is vested in this Court pursuant to 28 U.S.C. §§

2201, 2202, 1331 and 1343.

       15.     Venue is proper pursuant to 28 U.S.C. § 1391. Virginia Tech is a public university

created under the Virginia Code, incorporated and with its principal place of business in this

district. The errors and omissions giving rise to Plaintiff’s claims took place in this district.

                                                Facts

       16.     Mr. Brown is a senior at Virginia Tech majoring in Business Management.

       17.     Mr. Brown has a contract to enlist in the U.S. Army upon graduation.

       18.     This past semester, Mr. Brown served as a senior leader of one of the Corps units,

the Bravo Company.

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       19.       On October 18, 2019, the Bravo Company held a voluntary integration event for

sophomore members of the company. The purpose of the event, which had been held for years,

was to foster camaraderie among the members and had been approved by Mr. Brown’s superior,

Cadet Commander Nelson Demarest.

       20.       The event was entirely voluntary. Anyone who was a member of Bravo Company

before the event would continue to be so in good standing regardless of whether they participated

in the event or not.

       21.       A group of about 21 juniors and seniors led the event, and about 20 sophomores

voluntarily participated.

       22.       Participants met at Caldwell Fields to perform a variety of exercises for physical

training. Then, the group undertook a hike, stopping at various points.

       23.       Mr. Brown drove his own vehicle alongside the group during the hike to provide

water and make sure everyone was staying safe during the event.

       24.       Mr. Brown assisted others if they became too tired and informed all participants

that it was okay if they did not want to continue.

       25.       At the conclusion of the hike, the group went back down and had a bonfire where

one of the platoon leaders gave a speech about Bravo Company.

       26.       A ceremony was help where the members were given a pin to recognize their

participation.

       27.       Absolutely no drugs or alcohol were involved.

       28.       As far as Mr. Brown was concerned, no one was injured during the event, and it

was performed just as it has been for many years.




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       29.     An unidentified participant later alleged that the event constituted hazing,

focusing specifically on the pinning ceremony, also known as blood pinning.

       30.     The pin involved is a small company pin. It is placed on a person’s shirt and

tapped. Participation in this ceremony is entirely voluntary.

       31.     Participation in this ceremony is entirely voluntary; no one would be pinned who

did not want to be.

       32.     On December 9, 2019, Mr. Brown appeared at the Virginia Tech Office of

Student Conduct for a hearing on the anonymous student’s hazing complaint.

       33.     The hearing officer reviewed the report by investigators.

       34.     The hearing officer heard testimony from Mr. Brown, who stated, he was the

senior leader of Bravo Company; had received permission to hold the event; that the members

engaged in the exercises and pinning ceremony, which had been a Corps tradition; that no one

was injured; and, the event was voluntary.

       35.     The hearing officer did not hear testimony from the accuser.

       36.     The hearing officer did not disclose the name of the accuser, or any of the

witnesses against Mr. Brown, other than the investigators who allegedly spoke with them and

compiled the report that formed the basis of the conduct referral.

       37.     Following the hearing, Mr. Brown was found responsible for violating the

Virginia Tech hazing policy.

       38.     Virginia Tech suspended Mr. Brown for two semesters.

       39.     On December 21, 2019, Mr. Brown appealed the hearing outcome to the Interim

Assistant Vice President of Student Affairs Dr. Frances Keene.




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       40.     Mr. Brown urged the university to set aside the hearing result as unduly harsh and

violative of his due process rights.

       41.     On January 10, 2020, Dr. Keene rejected Mr. Brown’s appeal, and stated in her

letter to him upholding the suspension, “Confronting your accuser is not a procedural guarantee

in the student conduct process.”

       42.     Mr. Brown now asks this Court to lift the suspension and permit Virginia Tech to

return to school to graduate.

       43.     Absent injunctive relief, Mr. Brown will not graduate on time, will breach his

Army Contract, and be forced to repay his full Military Scholarship (seven semesters).

          COUNT I – VIOLATION OF THE DUE PROCESS CLAUSE OF THE
           FOURTEENTH AMENDMENT PURSUANT TO 42 U.S.C. § 1983

       44.     Mr. Brown realleges the foregoing paragraphs.

       45.     Mr. Brown has a constitutionally protected property interest in his continued

education at Virginia Tech.

       46.     Mr. Brown suffered a deprivation of a property interest when he was suspended

for two semesters from Virginia Tech, which as a result, will inhibit his ability to graduate on

time and honor his enlistment contract with the U.S. Army.

       47.     Mr. Brown also has a constitutionally protected liberty interest in his good name,

reputation and integrity.

       48.     The due process provisions of the Fourteenth Amendment apply to the

disciplinary process used by Virginia Tech against Mr. Brown.

       49.     Mr. Brown was entitled to process commensurate with the seriousness of the

charge of hazing and the potential discipline he faced. The allegation was serious and resulted in



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harsh sanctions, as well as the prospect of a lifelong stigma that will foreclose future educational

and employment opportunities.

       50.     Mr. brown was entitled to fundamentally fair procedures to determine whether he

was responsible for the alleged hazing.

       51.     Virginia Tech, through Dr. Sands and staff, failed to provide adequate due process

when they collectively neglected to identify Mr. Brown’s accuser or provide him with an

opportunity to confront and question his accuser.

       52.     As a result of the due process violations, Mr. Brown was wrongly disciplined and

suffers ongoing harm to his good name and educational progress.


                                   DEMAND FOR JUDGMENT

       WHEREFORE, Mr. Brown requests the Court award the following relief, and enter a

judgment against the Defendants Virginia Tech and Dr. Sands:

       a.      A declaratory judgment that Virginia Tech and Dr. Sands violated Mr. Brown’s

               rights to due process;

       b.      An emergency preliminary injunction requiring Virginia Tech and Dr. Sands to

               re-admit Mr. Brown to allow him to complete his last semester of college and

               graduate on time;

       c.      A permanent injunction requiring Virginia Tech, Dr. Sands, and all other officers,

               employees, or agents of Virginia, and all other persons in active concert or

               participation with them, to: expunge Mr. Brown’s records at Virginia Tech of any

               indication of a finding that he committed an act of hazing or was the subject of

               discipline;



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       c.      A permanent injunction enjoining Virginia Tech, Dr. Sands, and all other officers,

               employees, or agents of Virginia, and all other persons in active concert or

               participation with them, from: (i) continuing to enforce any sanction against Mr.

               Brown for alleged hazing; (ii) making any notation in Mr. Brown’s educational or

               disciplinary records related to the incidents described in this Complaint; and, (iii)

               making any disclosure to a third party that any adverse disciplinary action was

               taken against Mr. Brown arising out of the incidents described in this Complaint;

       d.      An award of attorneys’ fees and costs pursuant to 42 U.S.C. § 1988, 28 U.S.C. §

               1920, and any other appropriate authority; and

       e.      Any other further relief as the Court deems just and appropriate



       January 30, 2020                       Respectfully submitted,

                                              DARRIEN BROWN



                                              By: ______________________________________
                                                             Of Counsel

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of January, 2020, the foregoing pleading was filed

with the United States District Court for the Western District of Virginia, Roanoke Division

using the CM/ECF system.




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